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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JOYNEQUA WEST, individually and on             Case No.
behalf of herself and all others similarly
situated,

                           Plaintiffs,         CLASS ACTION COMPLAINT

vs.                                            JURY TRIAL DEMANDED

OVERBY-SEAWELL CO.

and

FULTON BANK, N.A.,

                          Defendants.




                        CLASS ACTION COMPLAINT

        Plaintiff Joynequa West (“Plaintiff”), on behalf of herself and all others

similarly situated (“Class Members” as defined below), alleges the following Class

Action Complaint against the above-captioned Defendants, Overby-Seawell Co.

(“OSC”) and Fulton Bank, N.A. (“Fulton Bank”) (collectively, “Defendants”) upon

personal knowledge as to herself and her own actions, and upon information and

belief, including the investigation of counsel as follows:

   I.      NATURE OF THE ACTION
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      1.     This Action stems from Defendants’ collective failure to secure the

sensitive, personal information of their current and former customers and other

consumers for whom Defendants provided services.

      2.     Defendant Fulton Bank, N.A., a subsidiary of Fulton Financial

Corporation which is traded on the NASDAQ and is an S&P 400 Component stock,

provides banking and financial services to hundreds of thousands (if not, millions)

of Americans throughout Pennsylvania, Maryland, Delaware, New Jersey, and

Virginia. Defendant OSC provides or provided Fulton Bank with services including

ongoing verification that Fulton Bank’s residential mortgage customers maintain

property insurance. As a necessary part of their regular business activities

Defendants collect and maintain the PII of individuals like Plaintiff and Class

Members.

      3.     Plaintiff brings this Action on behalf of herself and all others similarly

situated against Defendants for their failure to secure and safeguard sensitive

personally identifiable information provided by and belonging to their customers,

including: full names, mailing addresses, collateral addresses, telephone numbers,

loan information (loan amount, loan maturity date, and insurance policy

information) as well as Social Security numbers (collectively, the “PII”).

      4.     According to OSC’s Notice of Data Event (the “Notice”), sent on behalf

of OSC and Fulton Bank, OSC discovered suspicious activity on their computer



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systems on July 5, 2022. OSC conducted an investigation which concluded that

“unauthorized access” to their servers began on May 26, 2022; and, that on July 11,

2022, their investigation concluded that PII was stolen from OSC’s network.

      5.     In furtherance of services OSC performs on Fulton Bank’s behalf, OSC

obtains vast quantities of PII belonging to Fulton Bank’s customers, including

Plaintiff and Class Members. As such, this Action arises out of the recent targeted

cyberattack against OSC that, by Defendants’ own admission, allowed unauthorized

third-party intruders to remotely access OSC’s computer systems and data, resulting

in the exfiltration of highly sensitive PII belonging to thousands of current and

former Fulton Bank clients (the “Data Breach”). Additionally, the victims in this

Action could number well into the millions, as numerous OSC banking clients were

implicated in this Data Breach, including Defendant Fulton Bank, as well as at least

one more bank (KeyBank).

      6.     As a result of the Data Breach, victims suffered ascertainable losses in

the form of the loss of the benefit of their bargain, out-of-pocket expenses, the value

of their time reasonably incurred to remedy or mitigate the effects of the attack,

emotional distress, and the present and certainly imminent risk of future harm caused

by the compromise of their PII.

      7.     As a condition of providing services, Fulton Bank requires that its

customers, including Plaintiff and Class Members, entrust Fulton Bank with their



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PII, including, but not limited to their names, Social Security numbers, mortgage

addresses, telephone numbers, and state identification cards (e.g., Driver’s Licenses,

State ID Cards, or Passports), and other sensitive, non-public information.

      8.     As sophisticated institutions that collected, stored, and maintained the

PII of Plaintiff and Class Members, Defendants owed Plaintiff and Class Members

numerous statutory, regulatory, contractual, and common law duties and obligations,

including those based on their affirmative representations to keep Plaintiff’s and

Class Members’ PII confidential, safe, secure, and protected from unauthorized

disclosure, access, dissemination, or theft.

      9.     Indeed, during the course of its business operations, Defendants

expressly and impliedly promised to safeguard Plaintiff’s and Class Members’ PII.

      10.    Furthermore, by obtaining, collecting, using, retaining, and deriving

benefit from Plaintiff’s and Class Members’ PII, Defendants assumed legal and

equitable duties to Plaintiff and Class Members and knew or should have known that

they were responsible for safeguarding and protecting Plaintiff’s and Class

Members’ PII from unauthorized disclosure access, dissemination, or theft.

      11.    Plaintiff and Class Members provided their PII to Fulton Bank with the

reasonable expectation and mutual understanding that Fulton Bank would comply

with its legal duties, obligations, and representations to keep such information

confidential, safe, and secure from unauthorized access.



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      12.    Plaintiff and Class Members reasonably expected and relied upon

Fulton Bank to ensure that third party vendors to whom it entrusted their PII, like

OSC, maintained adequate data security and retention systems.

      13.    Plaintiff and Class Members further reasonably expected and relied

upon Defendants to only use their PII for business purposes, implement reasonable

retention and data destruction policies, and to make only authorized disclosures of

this information.

      14.    Plaintiff and Class Members would not have paid the amounts of money

they paid for Fulton Bank’s services, or surrendered their PII, had they known their

information would be entrusted to and maintained by OSC, who employed

inadequate data security and retention systems.

      15.    Defendants’ data security obligations were particularly important given

the substantial increase in data breaches preceding the date of the Data Breach.

      16.    Defendants breached their duties, promises, and obligations, and

Defendants’ failures to honor their obligations increased the risk that Plaintiff’s and

Class Members’ PII would be compromised in the event of a likely cyberattack.

      17.    At this phase of litigation, the full extent of the types of sensitive

personal information, the scope of the breach, and the root cause of the Data Breach

are all within the exclusive knowledge and control of Defendants and their agents,

counsel, and forensic security vendors.



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         18.   Upon information and belief, Defendants are responsible for allowing

this Data Breach through their multiple acts of negligence, including but not limited

to their: failure to design, implement, and maintain reasonable data security systems

and safeguards; failure to exercise reasonable care in the hiring, supervision,

training, and monitoring of their employees and agents and vendors; failure to

comply with industry-standard data security practices; failure to comply with federal

and state laws and regulations that govern data security and privacy practices and

are intended to protect the type of Sensitive Information at issue in this action; and/or

failure to design, implement and execute reasonable data retention and destruction

policies.

         19.   In this era of frequent data security attacks and data breaches,

particularly in the financial industry, Defendants’ failures leading to the Data Breach

are particularly egregious, as this Data Breach was highly foreseeable.

         20.   Until notified of the breach, Plaintiff and Class Members were not

aware that their PII had been compromised in the Data Breach and that they were,

and continue to be, at significant risk of identity theft and various of forms of

personal, social, and financial harm. This risk will remain for the remainder of their

lives.

         21.   Plaintiff and the Class Members must now closely monitor their

financial accounts to guard against future identity theft and fraud. Plaintiff’s and



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Class Members’ have heeded Defendant’s warnings to mitigate against the imminent

risk of future identity theft and financial loss. Such mitigation efforts included and

will include into the future: reviewing financial statements, changing passwords, and

signing up for credit and identity theft monitoring services, self-monitoring their

accounts for instances of fraud and identity theft, and other mitigation efforts. The

loss of time and other mitigation costs are tied directly to guarding against and

mitigating against the imminent risk of identity theft.

      22.    Plaintiff and Class Members have suffered actual and present injuries

as a direct result of the Data Breach, including: (a) theft of their PII; (b) costs

associated with the detection and prevention of identity theft for their respective

lifetimes; (c) costs associated with time spent and the loss of productivity from

taking time to address and attempt to ameliorate, mitigate, and deal with the

consequences of the Data Breach; (d) invasion of privacy; (e) the emotional distress,

stress, nuisance, and annoyance of responding to, and resulting from, the Data

Breach; (f) the present and/or imminent injury arising from actual and/or potential

fraud and identity theft posed by their personal data being placed in the hands of the

ill-intentioned hackers and/or criminals; (g) damages to and diminution in value of

their personal data entrusted to Defendants on the mutual understanding that

Defendants would safeguard their PII against theft and not allow access to and

misuse of their personal data by others; and (h) the continued risk to their PII, which



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remains in the possession of Defendants, and which is subject to further injurious

breaches, so long as Defendants fail to undertake appropriate and adequate measures

to protect Plaintiff and Class Members’ PII. Plaintiff and Class Members, at the very

least, are entitled to damages and injunctive relief tailored to address the

vulnerabilities exploited in the breach, and designed to protect Plaintiff and Class

Members’ PII, as well as an order from the Court directing the destruction and

deletion of all PII for which Defendants cannot demonstrate a reasonable and

legitimate purpose for continuing to maintain possession of such PII.

      23.    Defendants understand the need to protect the privacy of their

customers and use security measures to protect their customers’ information from

unauthorized disclosure. And as sophisticated financial entities who maintain private

and sensitive consumer information, Defendants further understood the importance

of safeguarding PII. Yet Defendants disregarded the rights of Plaintiff and Class

Members by intentionally, willfully, recklessly, or negligently failing to take and

implement adequate and reasonable measures to ensure that Plaintiff’s and Class

Members’ PII was safeguarded, failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required and

appropriate protocols, policies and procedures regarding the encryption of data, even

for internal use. As a result, the PII of Plaintiff and Class Members was compromised

through access to and exfiltration by an unknown and unauthorized third party.



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Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they are entitled to injunctive and other

equitable relief.

         24.     Plaintiff seeks to remedy these harms, and to prevent the future

occurrence of an additional data breach, on behalf of themselves and all similarly

situated persons whose PII was compromised as a result of the Data Breach. Plaintiff

seeks remedies including, but not limited to, compensatory damages, reimbursement

for loss of time, reimbursement of opportunity costs, out-of-pocket costs, price

premium damages, and injunctive relief including improvements to Defendant’s data

security systems and protocols, future annual audits, and adequate credit monitoring

services funded by the Defendant.

   II.         PARTIES

         Plaintiff Joynequa West

         25.     Plaintiff West is a citizen of the state of Pennsylvania and resides in

Philadelphia, Pennsylvania. Plaintiff is a consumer of Fulton Bank and provided her

personal information and PII to Fulton Bank as a condition of receiving services

from Fulton Bank. Fulton Bank notified Plaintiff of the Data Breach and the

unauthorized access of her PII by sending her a Notice letter, dated August 30, 2022.

         Defendant OSC




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          26.     Defendant Overby-Seawell Co. is Georgia corporation and maintains

its principal place of business at 245 TownPark Drive, Suite 200, Kennesaw,

Georgia 30144.

          Defendant Fulton Bank, N.A.

          27.     Defendant Fulton Bank, N.A., a subsidiary of Fulton Financial

Corporation, maintains its principal place of business at One Penn Square, Lancaster,

Pennsylvania 17604.

   III.         JURISDICTION AND VENUE

          Subject Matter and Diversity Jurisdiction

          28.     This Court has subject matter and diversity jurisdiction over this action

under 28 U.S.C. § 1332(d) because this is a class action wherein the amount of

controversy exceeds the sum or value of $5 million, exclusive of interest and costs,

and there are more than 100 members in the proposed class. The minimal diversity

requirement is met as Plaintiff West and Defendant OSC are citizens of different

states.

          General Jurisdiction

          29.     OSC is a citizen of Georgia because it is a Georgia corporation and its

principal place of business is in Kennesaw, Georgia. Thus, the Northern District of

Georgia has general jurisdiction over OSC.

          Personal Jurisdiction



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      30.    The Northern District of Georgia has personal jurisdiction over OSC

because it conducts substantial business in Georgia and this District.

      31.    The Northern District of Georgia has personal jurisdiction over Fulton

Bank because it shared Plaintiff’s and Class Members’ PII with OSC and maintained

significant commercial relationships in Georgia and in this District.

      Venue

      32.    Venue is proper in this District under 28 U.S.C. §1391(b) because OSC

operates in this District, Fulton Bank provided and entrusted Plaintiff’s and Class

Members’ PII to OSC in this District, and a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this District.

   IV.      BACKGROUND

      Defendant’s Business (Fulton Bank)

      33.    Fulton Bank, N.A., a subsidiary of Fulton Financial Corporation which

is traded on the NASDAQ and is an S&P 400 Component stock, provides banking

services, including mortgage and other financial services, to hundreds of thousands

(if not, millions) of Americans throughout five states on the east coast, Pennsylvania,

Maryland, Delaware, New Jersey, and Virginia.

      34.    In the course of doing business, Defendant collects a substantial amount

of PII from its consumers inclusive of the PII which was compromised in the Data

Breach alleged herein.



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           35.     Fulton Bank has acknowledged the sensitive and confidential nature of

the PII it collects from its customers.

           36.     According to Fulton Bank’s privacy policy, “your privacy is very

important to us.”1 Fulton Bank also ensures its customers that “[t]o protect Personal

Information from unauthorized access and use, we apply administrative, technical

and physical security measures.”

           37.     Despite promising consumers that “[w]e take our responsibility to

protect your Personal Information very seriously,” Fulton Bank partnered with OSC,

a third-party vendor whose woefully insufficient data security policies, protocols and

procedures resulted in the Data Breach and compromise of Plaintiff’s and Class

Members’ PII.

           Defendant’s Business (OSC)

           38.     OSC, and a third-party vendor for Fulton Bank, provides or provided

Fulton Bank with services including ongoing verification that Fulton Bank’s

residential mortgage customers maintain property insurance. OSC describes itself as

a “leading provider of compliance-driven tracking technology and insurance

products and services for lenders, mortgage servicers, finance companies, and

property investors.”




1
    https://www.fultonbank.com/Security/Consumer-Privacy-Notice, (last accessed Sept. 22, 2022).


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           39.      In the course of doing business, OSC collects a substantial amount of

PII from the consumers who do business with its banking and insurance partners,

like Fulton Bank, inclusive of the PII which was compromised in the Data Breach

alleged herein.

           40.      OSC acknowledges its duty to protect the sensitive and confidential

nature of the PII it collects from the consumers who do business with its partners,

like Fulton Bank and KeyBank.

           41.      According to OSC’s published privacy policy: 2

           The privacy of personal client information is important to [OSC]. Under
           Federal law, any financial institution, directly or through its affiliates,
           is generally prohibited from sharing nonpublic personal information
           about consumers or customers with a nonaffiliated third party unless
           the institution provides such consumer or customer with a notice of its
           privacy policies and practices, such as the type of information that it
           collects from consumers and customers and the categories of persons
           or entities to whom the information may be disclosed. In compliance
           with Federal law and the state laws relating to privacy in the insurance
           industry, and in order to notify our clients of our privacy policies and
           practices, we have established this Privacy Policy.

           We restrict access to nonpublic personal information about Participants
           to those employees of [OSC] who need to know that information in
           order to provide products or services to our Participants. We have in
           place physical, electronic, and procedural safeguards in order to protect
           any nonpublic personal information we maintain regarding our
           Participants.




2
    https://www.oscis.com/privacy/, (last accessed Sept. 22, 2022).


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          42.   Not only does OSC claim to value privacy, but they acknowledge their

obligations under “Federal law and the state laws relating to privacy in the insurance

industry[.]”3

          43.   OSC’s privacy policy also promises not to disclose nonpublic personal

information and represents that it employs “physical, electronic, and procedural

safeguards” to protect the PII it maintains –representations that are seemingly false

given the Data Breach which occurred.4

          44.   Because Defendants made partial representations concerning data

security, Plaintiff and Class Members relied on Defendants to fully disclose material

information concerning any inadequacies in their data security practices and to

disclose the foreseeable risks associated with allowing Defendants to maintain their

PII.

          45.   Even absent these affirmative representations, Plaintiff and Class

Members reasonably relied on and expected Defendants to adequately protect their

PII from unauthorized access or disclosure because reasonable consumers and

persons in Defendants’ position understand the sensitivity of the PII and the severe

consequences that result if that PII is placed in the hands of criminals, as with this

Data Breach.




3
    Id.
4
    Id.


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      46.   Plaintiff and Class Members would not have provided their PII to

Defendants, or would have paid less for Defendants’ services had they known that

Defendants did not adequately implement or fund their data security practices.

      47.   Plaintiff and Class Members, relied on these express and implied

promises and on these sophisticated Defendants to keep their sensitive PII

confidential and securely maintained, to use this information for business purposes

only, to implement reasonable retention policies, to limit access to authorized

individuals, and to make only authorized disclosures of this information.

      48.   By obtaining, collecting, using, and deriving a benefit from Plaintiff’s

and Class Members’ PII, Defendants assumed legal and equitable duties to these

individuals to safeguard and protect the PII from unauthorized access.

      The Data Breach

      49.   According to OSC’s Notice letter, OSC discovered suspicious activity

on their computer systems on July 5, 2022. OSC conducted an investigation which

concluded that “unauthorized access” to their servers began on May 26, 2022; and,

that, on July 11, 2022, their investigation concluded that PII was “stolen” from

OSC’s network.

      50.   The PII which was accessed in the Data Breach includes: full names,

mailing addresses, collateral addresses, telephone numbers, loan information (loan




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amount, loan maturity date, and insurance policy information) as well as Social

Security numbers.

        51.   Upon information and belief, the PII was not encrypted or was not

adequately encrypted prior to the Data Breach. Had the PII been properly encrypted,

the cybercriminals would have accessed and “stolen” only useless, unintelligible

data.

        52.   Additionally, OSC’s Notice letter compounds the harm and suffering

that Plaintiff and Class Members experience as a result of the Data Breach due to

numerous omissions and deficiencies, including but not limited to: (1) OSC’s failure

to state whether the unauthorized access to their servers was terminated or whether

it is on-going; (2) OSC’s failure to state how hackers gained access to their servers

in the first place; (3) OSC’s failure to identify precisely what additional safeguards

and measures they have or will implemented to ensure future protection of the PII,

and notably, (3) OSC’s failure to state why it waited almost 50 days from July 11,

2022 (when they first learned that PII was stolen) until August 30, 2022 to inform

victims of the Data Breach.

        Defendants Acquire, Collect, and Store Plaintiff’s and Class Members’ PII

        53.   Defendants acquired, collected, and stored the PII of Plaintiff and Class

Members.




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      54.      In the course and scope of its residential mortgage financing business,

Fulton Bank collects, and OSC maintains, massive amounts of highly sensitive PII,

likely including but not limited to, names, phone numbers, Social Security numbers,

employment information (including tax returns, W-2’s, pay stubs, and letters

regarding employment history), assets, credit histories and letters regarding credit

events, investment information, addresses, dates of birth, and driver’s license

information.

      55.      By acquiring, collecting, obtaining, and storing this information,

Defendants assumed legal and equitable duties and knew or should have known that

they were responsible for protecting Plaintiff’s and Class Members’ PII from

disclosure.

      56.      Plaintiff and Class Members entrusted their PII to Fulton Bank on the

premise and with the understanding that Fulton Bank would safeguard their

information, use their PII for business purposes only, and/or not disclose their Fulton

Bank to unauthorized third parties, and/or not share PII with third-party vendors,

like OSC, with inadequate data security systems, and/or only retain PII for necessary

business purposes and for a reasonable amount of time.

      57.      Plaintiff and Class Members would not have allowed Defendants, or

anyone in Defendants’ position, to retain their PII had they known of their

inadequate data security practices.



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       Harm Caused by Defendants’ Failure to Secure PII

       58.    Defendants could have prevented this Data Breach by properly securing

and encrypting Plaintiff’s and Class Members’ PII. Additionally, Defendants could

have destroyed data, including old data that Defendants had no legitimate purpose,

or legal right or responsibility to retain.

       59.    Defendants knew that the PII they maintained was a target of data

thieves and that they had a duty to protect Plaintiff’s and Class Members’ PII from

unauthorized access.

       60.    In OSC’s Notice letter, OSC “encourages” victims “to remain vigilant

against incidents of identity theft and fraud over the next 12 to 24 months by

reviewing your account statements and monitoring free credit reports for suspicious

activity and to detect errors.”

       61.    This warning is an acknowledgement by OSC that it is not only

plausible that the criminals targeted and acquired the PII for criminal purposes,

thereby placing the impacted customers at an imminent threat of identity theft and

financial fraud – but that the theft and dissemination and misuse of the PII is the

intended result of this type of cyberattack and a present threat to all Class Members.

       62.    This admonition also demonstrates that the “stolen” PII was

unencrypted because if it had been, there would be no threat of misuse of the PII as

the attackers would have exfiltrated only unintelligible data.



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      63.    Without    the   likelihood    of   dissemination    and   misuse,    and

materialization of identity theft, the warnings and instructions to mitigate the risk

would be unnecessary and would cause more harm than good, and Defendants would

not have advised such actions that would cost Plaintiff and Class Members time and

money unnecessarily.

      64.    As an additional line of protection for Plaintiff and Class Members,

OSC paid for a program that offered identity theft protection services to Class

Members. Absent an actual, materialized, and imminent threat to the Plaintiff and

Class Members, such a program would also have been unnecessary and a waste of

OSC’s time and money. OSC would not have spent resources offering such a

program without the likelihood that the Class Member PII was exfiltrated and

disseminated in the attack, and that a materialized and imminent risk of identity theft

was present for all Class Members. Even so, this identity theft protection is

inadequate because it does not encompass the expected timespan during which the

affected PII could be compromised (which could be for several years, if not a

lifetime).

      65.    Defendant OSC also acknowledges their woefully insufficient data

security protocols and procedures that predated the Data Breach – as they state in

the Notice letter, “[w]e are taking steps to implement additional safeguards and

review policies and procedures relating to data privacy and security.” While OSC



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essentially acknowledges that their practices needed to be improved following the

Data Breach, they do not elaborate as to what those “additional safeguards …

policies and procedures” are, so victims have no way of knowing whether those

safeguards, policies and procedures would be sufficient to be able to protect their

data (which is still in the hands of OSC) going forward.

      66.    What is evident and indisputable is that the Data Breach resulted in the

unauthorized access of OSC’s systems and theft of OSC’s files, and that those

compromised files contained the PII of Plaintiff and an untold number of Class

Members, potentially millions.

      67.    Upon information and belief, the cyberattack targeted OSC due to

OSC’s status as a vendor for large banks, including Fulton Bank, a national, multi-

billion-dollar bank, that routinely collects valuable personal and financial data on its

many customers, including Plaintiff and Class Members.

      68.    Upon information and belief, the cyberattack was expressly designed

to target and gain access to and steal the private and confidential data maintained by

OSC, including the PII of Plaintiff and the Class Members.

      69.    As a result of the Data Breach, Plaintiff and Class Members are at an

imminent risk of identity theft, fraud, and other financial crimes.

      The Data Breach Was Foreseeable




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      70.     Defendants' data security obligations were particularly important given

the substantial increase in cyberattacks and/or data breaches in the financial industry

and other industries holding significant amounts of PII preceding the date of the

breach.

      71.     In light of recent high profile data breaches at other industry leading

companies, including, Microsoft (250 million records, December 2019), Wattpad

(268 million records, June 2020), Facebook (267 million users, April 2020), Estee

Lauder (440 million records, January 2020), Whisper (900 million records, March

2020), and Advanced Info Service (8.3 billion records, May 2020), Defendants knew

or should have known that the PII that they collected and maintained would be

targeted by cybercriminals.

      72.     Indeed, cyberattacks against the financial industry have been common

for over ten years with the FBI warning as early as 2011 that cybercriminals were

“advancing their abilities to attack a system remotely” and “[o]nce a system is

compromised, cyber criminals will use their accesses to obtain PII.” The FBI further

warned that that “the increasing sophistication of cyber criminals will no doubt lead

to an escalation in cybercrime.”

      73.     As sophisticated financial and insurance institutions that collect, utilize,

and store particularly sensitive PII, Defendants were at all times fully aware of the




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increasing risks of cyber-attacks targeting the PII they controlled, and their

obligation to protect the PII of Plaintiff and Class Members.

      74.    Plaintiff and Class Members now currently face years of having to

constantly surveil and monitor their financial and personal records in addition to the

loss of their privacy rights. Plaintiff and Class Members are incurring, and will

continue to incur, such damages in addition to any fraudulent use of their PII.

      75.    The injuries to Plaintiff and Class Members are directly and

proximately caused by Defendants’ failure to implement or maintain adequate data

security measures for the PII of Plaintiff and Class Members, and such as encrypting

the data so unauthorized third parties could not see the PII.

      Defendants Failed to Protect the Plaintiff’s and Class Members’ PII

      76.    Despite the prevalence of public announcements of data breach and

data security compromises, and despite Defendants’ own acknowledgment of their

duties to keep PII private and secure, Defendants failed to take appropriate steps to

protect the PII of Plaintiff and Class Members from being compromised.

      77.    Fulton Bank negligently entrusted duties to safeguard Plaintiff’s and

Class Members’ PII to OSC without performing due diligence or adequately

monitoring, inspecting, or controlling OSC’s data security practices.




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      78.    Fulton Bank negligently supervised OSC and failed to successfully

require OSC to implement, maintain and to sufficiently upgrade OSC’s data security

systems and protocols.

      79.    Defendants did not use reasonable security procedures and practices

appropriate to the nature of the Sensitive Information it was maintaining for Plaintiff

and Class Members, causing the exposure of Plaintiff’s and Class Members’ PII.

      Defendants Failed to Comply with FTC Data Security Standards

      80.    The Federal Trade Commission (“FTC”) has promulgated numerous

guides for businesses which highlight the importance of implementing reasonable

data security practices. According to the FTC, the need for data security should be

factored into all business decision making.

      81.    The FTC has brought well publicized enforcement actions against

businesses for failing to adequately and reasonably protect consumer data, treating

the failure to employ reasonable and appropriate measures to protect against

unauthorized access to confidential consumer data as an unfair act or practice

prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C.

§ 45. This includes the FTC’s enforcement action against Equifax following a

massive data breach involving the personal and financial information of 147 million

Americans.




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      82.   In 2016, the FTC updated its publication, “Protecting Personal

Information: A Guide for Business,” which established cyber-security guidelines for

businesses that Defendants did not adequately employ. The FTC advised that

businesses like Defendants should protect the PII that they keep by following some

minimum standards related to data security, including, among others:


      (a) Encrypting information stored on computer networks;

      (b) Identifying network vulnerabilities;

      (c) Implementing policies to update and correct any security problems;

      (d) Utilizing an intrusion detection systems;

      (e) Monitor all incoming traffic for suspicious activity indicating someone
      is attempting to hack the system;

      (f) Watching for large amounts of data being transmitted from the system;

      (g) Developing a response plan ready in the event of a breach;

      (h) Limiting employee and vendor access to sensitive data;

      (i) Requiting complex passwords to be used on networks;

      (j) Utilizing industry-tested methods for security;

      (k) Verifying that third-party service providers have implemented
      reasonable security measures;

      (l) Educating and training employees on data security practices;

      (m) Implementing multi-layer security including firewalls, anti- virus, and
      anti-malware software; and

      (n) Implementing multi-factor authentication.


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       83.   In particular, the FTC further advised that companies not maintain PII

longer than is needed for authorization of a transaction: “If you don’t have a

legitimate business need for sensitive personally identifying information, don’t keep

it.”

       84.   Upon information and belief, Defendants failed to implement or

adequately implement at least one of these fundamental data security practices.

       85.   Defendants could have prevented this Data Breach by properly

following FTC guidelines and adequately encrypting or otherwise protecting their

equipment and computer files containing PII.

       86.   Defendants failure to employ reasonable and appropriate measures to

protect against unauthorized access to customers’ PII constitutes an unfair act or

practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       Fulton Bank Failed to Comply with the Gramm-Leach-Bliley Act

       87.   Fulton Bank is a financial institution, as that term is defined by Section

509(3)(A) of the Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. § 6809(3)(A), and

thus is subject to the GLBA.

       88.   The GLBA defines a financial institution as “any institution the

business of which is engaging in financial activities as described in Section 1843(k)

of Title 12 [the Bank Holding Company Act of 1956].” 15 U.S.C. § 6809(3)(A).




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      89.   Fulton Bank collects nonpublic personal information, as defined by 15

U.S.C. § 6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1).

Accordingly, during the relevant time period Defendant was subject to the

requirements of the GLBA, 15 U.S.C. § 6801.1, et seq., and is subject to numerous

rules and regulations promulgated on the GLBA Statutes. The GLBA Privacy Rule

became effective on July 1, 2001. See 16 C.F.R. § 313. Since the enactment of the

Dodd-Frank Act on July 21, 2010, the CFPB became responsible for implementing

the Privacy Rule. In December 2011, the CFPB restated the implementing

regulations in an interim final rule that established the Privacy of Consumer

Financial Information, Regulation P, 12 C.F.R. § 1016 (“Regulation P”), with the

final version becoming effective on October 28, 2014.

      90.   Accordingly, Fulton Bank’s conduct is governed by the Privacy Rule

prior to December 30, 2011, and by Regulation P after that date.

      91.   Both the Privacy Rule and Regulation P require financial institutions to

provide customers with an initial and annual privacy notice. These privacy notices

must be “clear and conspicuous.” 16 C.F.R. §§ 313.4(a) and 313.5(a)(1); 12 C.F.R.

§§ 1016.4 and 1016.5. “Clear and conspicuous means that a notice is reasonably

understandable and designed to call attention to the nature and significance of the

information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R. § 1016.3(b)(1). These

privacy notices must “accurately reflect[] [the financial institution’s] privacy



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policies and practices.” 16 C.F.R. § 313.4(a)(1) and 313.5(a)(1); 12 C.F.R. §§ 1016.4

and 1016.5. They must include specified elements, including the categories of

nonpublic personal information the financial institution collects and discloses, the

categories of third parties to whom the financial institution discloses the information,

and the financial institution’s security and confidentiality policies and practices for

nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6. These

privacy notices must be provided “so that each consumer can reasonably be expected

to receive actual notice.” 16 C.F.R. § 313.9(a); 12 C.F.R. § 1016.9. As alleged

herein, Fulton Bank violated the Privacy Rule and Regulation P.

      92.    Upon information and belief, Fulton Bank failed to provide annual

privacy notices to customers after the customer relationship ended, despite retaining

these customers’ PII and storing and/or sharing that PII on its network.

      93.    Fulton Bank failed to adequately inform its customers that it was storing

and/or sharing, or would store and/or share, the customers’ PII on its inadequately

secured network and would do so after the customer relationship ended.

      94.    The Safeguards Rule, which implements Section 501(b) of the GLBA,

15 U.S.C. § 6801(b), requires financial institutions to protect the security,

confidentiality, and integrity of customer information by developing a

comprehensive written information security program that contains reasonable

administrative, technical, and physical safeguards, including: (a) designating one or



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more employees to coordinate the information security program; (b) identifying

reasonably foreseeable internal and external risks to the security, confidentiality, and

integrity of customer information, and assessing the sufficiency of any safeguards in

place to control those risks; (c) designing and implementing information safeguards

to control the risks identified through risk assessment, and regularly testing or

otherwise monitoring the effectiveness of the safeguards’ key controls, systems, and

procedures; (d) overseeing service providers and requiring them by contract to

protect the security and confidentiality of customer information; and (e) evaluating

and adjusting the information security program In light of the results of testing and

monitoring, changes to the business operation, and other relevant circumstances. 16

C.F.R. §§ 314.3 and 314.4. As alleged herein, Fulton Bank violated the Safeguard

Rule.

        95.   Fulton Bank failed to assess reasonably foreseeable risks to its and

OSC’s networks, and the security, confidentiality, and integrity of PII in its custody

or control.

        96.   Fulton Bank failed to design and implement information safeguards to

control the risks identified through risk assessment, and regularly test or otherwise

monitor the effectiveness of the safeguards’ key controls, systems, and procedures.

        97.   Fulton Bank failed to adequately oversee service providers, including

OSC.



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      98.   Fulton Bank failed to evaluate and adjust its information security

program in light of the results of testing and monitoring, changes to the business

operation, and other relevant circumstances.

      Defendants Failed to Comply with Industry Standards

      99.   The financial industry also routinely incorporates these cybersecurity

practices that are standard in the financial industry, and that Defendants did not

adequately employ. These minimum standards include but are not limited to:


      (o) Maintaining a secure firewall configuration;

      (p) Maintaining appropriate design, systems, and controls to limit user
      access to certain information as necessary;

      (q) Monitoring for suspicious or irregular traffic to servers;

      (r) Monitoring for suspicious credentials used to access servers;

      (s) Monitoring for suspicious or irregular activity by known users;

      (t) Monitoring for suspicious or unknown users;

      (u) Monitoring for suspicious or irregular server requests;

      (v) Monitoring for server requests for PII;

      (w) Monitoring for server requests from VPNs; and

      (x) Monitoring for server requests from Tor exit nodes.

      100. Upon information and belief, Defendants failed to comply with at least

one of these minimal industry standards, thereby opening the door to, and causing

the Data Breach.


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      101. Defendants could have prevented this Data Breach by properly

following industry data security standards by adequately encrypting or otherwise

protecting their equipment and computer files containing PII.

      102. Defendants could also have prevented the scale of the Data Breach

simply by designing and implementing data retention practices to delete PII that is

no longer needed for an ongoing business purpose.

      103. Defendants had the resources necessary, and reasonable data security

alternatives were known and available to Defendants that would have prevented the

Data Breach, but Defendants neglected to adequately evaluate its systems, and invest

in adequate security measures, despite their obligation to protect their systems and

Plaintiff and Class Members’ PII.

      The Value of PII

      104. There is both a healthy black market and a legitimate market for the

type of PII that was compromised in this action. PII is such a valuable commodity

to criminal networks that once the information has been compromised, criminals

often trade the information on the “cyber black market” for years.

      105. The PII of consumers remains of high value to criminals, as evidenced

by the prices they will pay through the Dark Web. Numerous sources cite Dark Web

pricing for stolen identity credentials. For example, personal information can be sold




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at a price ranging from $40 to $200, and bank details have a price range of $50 to

$200.

        106. Social Security numbers, for example, are among the worst kind of

personal information to have stolen because they may be put to a variety of

fraudulent uses and are difficult for an individual to change. The Social Security

Administration stresses that the loss of an individual’s Social Security number, as is

the case here, can lead to identity theft and extensive financial fraud:


        A dishonest person who has your Social Security number can use it to get
        other personal information about you. Identity thieves can use your number
        and your good credit to apply for more credit in your name. Then, when they
        use the credit cards and don’t pay the bills, it damages your credit. You may
        not find out that someone is using your number until you’re turned down for
        credit, or you begin to get calls from unknown creditors demanding payment
        for items you never bought.

        107. The Social Security Administration has further warned that identity

thieves can use an individual’s Social Security number to apply for additional credit

lines. Such fraud may go undetected until debt collection calls commence months,

or even years, later. Stolen Social Security numbers also make it possible for thieves

to file fraudulent tax returns, file for unemployment benefits, apply for a job using a

false identity, open bank accounts, and apply for other government documents such

as driver’s license and birth certificates.

        108. Each of these fraudulent activities is difficult to detect. An individual

may not know that his or her Social Security number was used to file for


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unemployment benefits until law enforcement notifies the individual’s employer of

the suspected fraud. Fraudulent tax returns are not typically discovered until an

individual’s authentic tax return is rejected.

      109. What’s more, it is no easy task to change or cancel a stolen Social

Security number. An individual cannot obtain a new Social Security number without

significant paperwork and evidence of actual misuse. In other words, preventive

action to defend against the possibility of misuse of a Social Security number is not

permitted; an individual must show evidence of actual, ongoing fraud activity to

obtain a new number.

      110. Even then, a new Social Security number may not be effective, as “[t]he

credit bureaus and banks are able to link the new number very quickly to the old

number, so all of that old bad information is quickly inherited into the new Social

Security number.”

      111. This data, as one would expect, demands a much higher price on the

black market. Martin Walter, senior director at cybersecurity firm RedSeal,

explained, “[c]ompared to credit card information, personally identifiable

information and Social Security Numbers are worth more than 10x in price on the

black market.”

      Plaintiff and Class Members Suffered Foreseeable, Concrete Harms




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      112. As a result of Defendants ineffective and inadequate data security and

retention measures, the Data Breach, and the foreseeable consequences of the PII

ending up in the possession of criminals, the risk of identity theft is materialized and

imminent.

      113. Given the type of targeted attack in this case and sophisticated criminal

activity, the type of PII there is a strong probability that entire batches of stolen

information have been placed, or will be placed, on the black market/Dark Web for

sale and purchase by criminals intending to utilize the PII for identity theft crimes,

such as opening bank accounts in the victims’ names to make purchases or to launder

money; file false tax returns; or file false unemployment claims.

      114. Furthermore, the information accessed and disseminated in the Data

Breach is significantly more valuable than the loss of, for example, credit card

information in a retailer data breach, where victims can easily cancel or close credit

and debit card accounts. The information disclosed in this Data Breach is impossible

to “close” and difficult, if not impossible, to change (such as Social Security

numbers).

      115. There may be a time lag between when harm occurs versus when it is

discovered, and also between when PII is stolen and when it is used. The fraudulent

activity resulting from the Data Breach may not become evident for years.




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       116. Indeed, “[t]he risk level is growing for anyone whose information is

stolen in a data breach.” Javelin Strategy & Research, a leading provider of

quantitative and qualitative research, notes that “[t]he theft of SSNs places

consumers at a substantial risk of fraud.” Moreover, there is a high likelihood that

significant identity fraud and/or identity theft has not yet been discovered or

reported. Even data that have not yet been exploited by cybercriminals bears a high

risk that the cybercriminals who now possess Class Members’ PII will do so at a

later date or re-sell it.

       117. To date, Defendants have done little to adequately protect Plaintiff and

Class Members, or to compensate them for their injuries sustained in this data

breach. The complimentary fraud and identity monitoring service offered by OSC is

wholly inadequate as the service is only offered for 24 months and it places the

burden squarely on Plaintiff and Class Members by requiring them to expend time

signing up for that service, as opposed to automatically enrolling all victims of this

cybercrime.

       118. Thus, due to the actual and imminent risk of identity theft, Plaintiff and

Class Members must, in OSC’s words, “remain vigilant” and monitor their financial

accounts for many years to mitigate the risk of identity theft.

       119. Plaintiff and Class Members have spent, and will spend additional time

in the future, on a variety of prudent actions, such as placing “freezes” and “alerts”



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with credit reporting agencies, contacting financial institutions, closing or modifying

financial accounts, changing passwords, reviewing and monitoring credit reports and

accounts for unauthorized activity, and filing police reports, which may take years

to discover and detect.

      120. Plaintiff’s mitigation efforts are consistent with the U.S. Government

Accountability Office that released a report in 2007 regarding data breaches (“GAO

Report”) in which it noted that victims of identity theft will face “substantial costs

and time to repair the damage to their good name and credit record.”38

      121. Plaintiff’s mitigation efforts are also consistent with the steps that FTC

recommends that data breach victims take several steps to protect their personal and

financial information after a data breach, including: contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for seven

years if someone steals their identity), reviewing their credit reports, contacting

companies to remove fraudulent charges from their accounts, placing a credit freeze

on their credit, and correcting their credit reports.

      122. Furthermore, Defendants poor data security deprived Plaintiff and

Class Members of the benefit of their bargain. When agreeing to pay Fulton Bank

and/or its affiliated vendors for services, Plaintiff and Class Members understood

and expected that they were paying for data security in conjunction with the services

that required them to provide PII, when in fact, Defendants did not provide the


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expected data security. Accordingly, Plaintiff and Class Members received services

that were of a lesser value than what they reasonably expected.

       123. As a result of Defendants’ ineffective and inadequate data security and

retention measures, the Data Breach, and the imminent and actual risk of identity

theft, Plaintiff and Class Members have suffered numerous actual and concrete

injuries, including: (a) invasion of privacy; (b) financial “out of pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (c)

loss of time and loss of productivity incurred mitigating the materialized risk and

imminent threat of identity theft risk; (d) financial “out of pocket” costs incurred due

to actual identity theft; (e) loss of time incurred due to actual identity theft; (f) loss

of time due to increased spam and targeted marketing emails; (g) the loss of benefit

of the bargain (price premium damages); (h) deprivation of value of their PII; and

(i) the continued risk to their PII, which remains in the possession of Defendants,

and which is subject to further breaches, so long as Defendants fail to undertake

appropriate and adequate measures to protect Plaintiff’s and Class Members’ PII.

       Plaintiff West’s Experience

       124. Plaintiff was required to provide and did provide her PII to Defendants

during her banking relationship with Defendant Fulton Bank, and by extension,

OSC.

       125. To date, Defendant has done next to nothing to adequately protect



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Plaintiff and Class Members, or to compensate them for their injuries sustained in

this Data Breach particularly given the fact that the unencrypted PII has already been

exfiltrated and likely made available to anyone wishing to download it.

      126. Defendant OSC’s data breach notice letter downplays the theft of

Plaintiff’s and Class Members PII, when the facts demonstrate that the PII was

deliberately exfiltrated in a criminal action. The fraud and identity monitoring

services offered by Defendant are only for two years, and Defendant places the

burden squarely on Plaintiff and Class Members by requiring them to expend time

signing up for the service and addressing timely issues resulting from the Data

Breach.

      127. Plaintiff and Class Members have been further damaged by the

compromise of their PII.

      128. Plaintiff’s PII was compromised in the Data Breach and was likely

stolen and in the hands of cybercriminals who targeted and illegally accessed

Defendant’s network for the specific purpose of targeting the PII.

      129. Plaintiff typically takes measures to protect her PII and is very careful

about sharing her PII. Plaintiff has never knowingly transmitted unencrypted PII

over the internet or other unsecured source.

      130. Plaintiff stores any documents containing her PII in a safe and secure

location, and she diligently chooses unique usernames and passwords for her online



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accounts.

      131. As a result of the Data Breach, Plaintiff has suffered a loss of time and

has spent and continues to spend a considerable amount of time on issues related to

this Data Breach. In response to the Data Breach, Plaintiff has spent significant time

monitoring her accounts and credit score and has sustained emotional distress in

addition to her lost time. This is time that was lost and unproductive and took away

from other activities and duties.

      132. Plaintiff also suffered actual injury in the form of damages to and

diminution in the value of her PII—a form of intangible property that she entrusted

to Defendants for the purpose of obtaining services from Defendants, which was

compromised in and as a result of the Data Breach.

      133. Plaintiff suffered lost time, annoyance, interference, and inconvenience

as a result of the Data Breach and has anxiety and increased concerns for the loss of

her privacy.

      134. Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from her

PII, especially her Social Security Number, being placed in the hands of criminals.

      135. Defendants obtained and continue to maintain Plaintiff’s PII and have

a continuing legal duty and obligation to protect that PII from unauthorized access

and disclosure. Defendant Fulton Bank required the PII from Plaintiff when she



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received services from Defendants. Plaintiff, however, would not have entrusted her

PII to Defendants, or allowed Defendants to retain her PII, had she known that they

would fail to maintain adequate data security. Plaintiff’s PII was compromised,

disclosed, and stolen as a result of the Data Breach.

        136. As a result of the Data Breach, Plaintiff anticipates spending

considerable time and money on an ongoing basis to try to mitigate and address

harms caused by the Data Breach. As a result of the Data Breach, Plaintiff is at a

present risk and will continue to be at increased risk of identity theft and fraud for

years to come.

        137. Plaintiff has a continuing interest in ensuring that her PII, which upon

information and belief, remains in Defendants’ possession, is protected and

safeguarded from future breaches.

   V.      CLASS ALLEGATIONS

        138. Plaintiff, pursuant to Fed. R. Civ. P. 23(a), 23(b)(1), 23(b)(2), 23(b)(3),

23(c)(4) and/or 23(c)(5), brings this Action on behalf of herself and on behalf of all

other persons similarly situated. Plaintiff proposes the following Class definition,

subject to amendment as appropriate:


        All individuals residing in the United States whose PII was accessed or
        exfiltrated during the Data Breach announced by OSC in 2022 (the “Class”).




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       139. Excluded from the Class are Defendants, any entity in which either

Defendants have a controlling interest, and either Defendants’ officers, directors,

legal representatives, successors, subsidiaries, and agents; all individuals who make

a timely election to be excluded from this proceeding using the correct protocol for

opting out; and any and all federal, state or local governments, including, but not

limited to, their departments, agencies, divisions, bureaus, boards, sections, groups,

counsels and/or subdivisions. Also excluded from the Class are any judicial officers

presiding over this matter, members of their immediate family, and members of their

judicial staff.

       140. Plaintiff reserves the right to modify or amend the definition of the

proposed Class before the Court determines whether certification is appropriate.

       141. Numerosity, Fed R. Civ. P. 23(a)(1): The Members of the Class are

so numerous that joinder of all of them is impracticable. While the exact number of

Class Members is unknown to Plaintiff at this time, based on information and belief,

the Class consists of thousands of individuals whose sensitive data was

compromised in the Data Breach.

       142. Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): There are

questions of law and fact common to the Class, which predominate over any

questions affecting only individual Class Members. These common questions of law

and fact include, without limitation:



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(a) Whether Defendants breached a duty to Class Members to safeguard
their PII;

(b) Whether Defendants expressly or impliedly promised to safeguard the
PII of Plaintiff and Class Members;

(c) Whether Defendants unlawfully used, maintained, lost, or disclosed
Plaintiff’s and Class Members’ PII;

(d) Whether Defendants failed to implement and maintain reasonable
security procedures and practices appropriate to the nature and scope of the
information compromised in the Data Breach;

(e) Whether Defendants’ data security systems prior to, during, and after the
Data Breach complied with the applicable FTC data security laws and
regulations;

(f) Whether Defendants’ data security systems prior to and during the Data
Breach were consistent with industry standards, as applicable;

(g) Whether unauthorized third parties accessed or obtained Plaintiff’s and
Class Members’ PII in the Data Breach;

(h) Whether Defendants knew or should have known that its data security
systems and monitoring processes were deficient;

(i) Whether the Plaintiff and Class Members suffered legally cognizable
injuries as a result of Defendants’ misconduct;

(j) Whether Defendants’ conduct was negligent;

(k) Whether Defendants breached expressed or implied contractual
obligations;

(l) Whether Defendants violated state consumer protections statutes;

(m) Whether Defendants were unjustly enriched by unlawfully retaining a
benefit conferred upon them by Plaintiff and Class Members;

(n) Whether Defendants failed to provide notice of the Data Breach in a
timely manner;


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      (o) Whether Defendants adequately addressed and fixed the vulnerabilities
      which permitted the Data Breach to occur;

      (p) Whether Plaintiff and Class Members are entitled to damages,
      restitution, and/or civil penalties; and

      (q) Whether Defendants violated state statutes as alleged herein;

      143. Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of

those of other Class Members because Plaintiff’s PII, like that of every other Class

Member, was compromised in the Data Breach due to Defendants’ misfeasance, and

their claims arise under the same legal doctrines.

      144. Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff will

fairly and adequately represent and protect the interests of the Members of the Class.

Plaintiff has no disabling conflicts of interest that would be antagonistic to those of

the other Members of the Class. Plaintiff’s counsel are competent and experienced

in litigating complex class actions and data breach cases, and they intend to

prosecute this action vigorously.

      145. Predominance, Fed. R. Civ. P. 23(b)(3): Defendants have engaged in

a common course of conduct toward Plaintiff and Class Members, in that all of

Plaintiff and Class Members’ data was stored on the same computer system and

unlawfully accessed in the same way. The common issues arising from Defendants’

conduct affecting Class Members set out above predominate over any individualized




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issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

      146. Superiority, Fed. R. Civ. P. 23(b)(3): A class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

Class treatment of common questions of law and fact is superior to multiple

individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claims is

prohibitively high and would therefore have no effective remedy. The prosecution

of separate actions by individual Class Members would create a risk of inconsistent

or varying adjudications with respect to individual Class Members, which would

establish incompatible standards of conduct for Defendants. In contrast, the conduct

of this action as a class action presents far fewer management difficulties, conserves

judicial resources and the parties’ resources, and protects the rights of each Class

Member.

      147. Manageability, Fed. R. Civ. P. 23(b)(3): The litigation of the claims

brought herein is manageable. Defendants’ uniform conduct, the consistent

provisions of the relevant laws, and the ascertainable identities of Class Members

demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action. Adequate notice can be given to Class

Members directly using information maintained in Defendants’ records.



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      148. Conduct Generally Applicable to the Class, Fed. R. Civ. P. 23(b)(2):

Further, Defendants have acted or refused to act on grounds generally applicable to

the Class and, accordingly, final injunctive or corresponding declaratory relief with

regard to the Class Members as a whole is appropriate. Unless a class-wide

injunction is issued, Defendants may continue in its failure to properly secure the PII

of Class Members, Defendants may continue to refuse to provide proper notification

to Class Members regarding the Data Breach, and Defendants may continue to act

unlawfully as set forth in this Complaint.

      149. Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. The particular issues include, but are not limited to:


      (a) Whether Defendants owed a legal duty to Plaintiff and Class Members to
      exercise due care in collecting, storing, using, and safeguarding their PII;

      (b) Whether Defendants breached a legal duty to Plaintiff and Class Members
      to exercise due care in collecting, storing, using, and safeguarding their PII;

      (c) Whether Defendants failed to comply with its own policies and applicable
      laws, regulations, and industry standards relating to data security;

      (d) Whether an implied contract existed between Defendants on the one hand,
      and Plaintiff and Class Members on the other, and the terms of those implied
      contracts;

      (e) Whether Defendants breached the implied contracts;



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      (f) Whether Defendants adequately, and accurately informed Plaintiff and
      Class Members that their PII had been compromised;

      (g) Whether Defendants failed to implement and maintain reasonable security
      procedures and practices appropriate to the nature and scope of the
      information compromised in the Data Breach;

      (h) Whether Defendants engaged in unfair, unlawful, or deceptive practices
      by failing to safeguard the PII of Plaintiff and Class Members; and

      (i) Whether Class Members are entitled to actual damages, statutory damages,
      nominal damages, injunctive relief, and/or punitive damages as a result of
      Defendants wrongful conduct.

   VI.     CAUSES OF ACTION

                                     COUNT I

                                 NEGLIGENCE

      150. Plaintiff repeats and realleges paragraphs 1-137 as if fully set forth

herein.

      151. As a condition of receiving their mortgages or financial services from

Defendants or their partners or affiliates, Plaintiff and the Class were obligated to

provide and entrust them with certain PII, including their names, birthdates,

addresses, loan numbers, Social Security numbers, and other information provided

in connection with a loan application, loan modification, or other items regarding

financial services.

      152. Plaintiff and the Class provided and entrusted their PII to Defendants

on the premise and with the mutual understanding that Defendants would safeguard



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their information, use their PII for business purposes only, and/or not disclose their

PII to unauthorized third parties.

      153. By undertaking the duty to maintain and secure this data, sharing it and

using it for commercial gain, Defendants had a duty of care to use reasonable means

to secure and safeguard their systems and networks—and Plaintiff and the Class

Members’ PII held within it—to prevent disclosure of the information, and to

safeguard the information from cyber theft.

      154. Defendants had full knowledge of the sensitivity of the PII and the types

of harm that Plaintiff and the Class could and would suffer if the PII were wrongfully

disclosed or obtained by unauthorized parties.

      155. Defendants knew or reasonably should have known that their failure to

exercise due care in the collecting, storing, and using of consumers’ PII involved an

unreasonable risk of harm to Plaintiff and the Class, including harm that foreseeably

could occur through the criminal acts of a third party.

      156. Defendants had a duty to exercise reasonable care in safeguarding,

securing, and protecting such information from being compromised, lost, stolen,

misused, and/or disclosed to unauthorized parties. This duty includes, among other

things, designing, maintaining, and testing Defendants’ security protocols to ensure

that Plaintiff’s and Class Members’ information in their possession was adequately

secured and protected.



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      157. Defendants also had a duty to exercise appropriate clearinghouse

practices to remove former customers’ or rejected loan applicants PII that they were

no longer required to retain for business purposes or pursuant to regulations.

      158. Defendants had a duty to have procedures in place to detect and prevent

the improper access and misuse of Plaintiff’s and the Class’s PII, and to employ

proper procedures to prevent the unauthorized dissemination of the PII of Plaintiff

and the Class.

      159. Defendants’ duty to use reasonable security measures arose as a result

of the special relationship that existed between each Defendant and Plaintiff and the

Class. That special relationship arose because Plaintiff and the Class entrusted

Defendants with their confidential PII, a mandatory step in receiving services from

Defendants. While this special relationship exists independent from any contract, it

is recognized by Defendants’ Privacy Policies, as well as applicable laws and

regulations. Specifically, Defendants actively solicited and gathered PII as part of

their businesses and were solely responsible for and in the position to ensure that

their systems were sufficient to protect against the foreseeable risk of harm to

Plaintiff and Class Members from the resulting Data Breach.

      160. Defendants were subject to an “independent duty,” untethered to any

contract between Defendants and Plaintiff and the Class, to maintain adequate data

security.



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      161. A breach of security, unauthorized access, and resulting injury to

Plaintiff and the Class were all reasonably foreseeable, particularly in light of

Defendants’ inadequate security practices and the sensitivity of the PII they

maintained.

      162. Defendants also had a common law duty to prevent foreseeable harm

to others. Plaintiff and the Class were the foreseeable and probable victims of

Defendants’ inadequate security practices and procedures. Defendants knew or

should have known of the inherent risks in collecting and storing the PII of Plaintiff

and the Class, the critical importance of adequately safeguarding that PII, and the

necessity of encrypting PII stored on Defendants’ systems. It was foreseeable that

Plaintiff and Class members would be harmed by the failure to protect their personal

information because hackers are known to routinely attempt to steal such

information and use it for nefarious purposes.

      163. Defendants’ conduct created a foreseeable risk of harm to Plaintiff and

the Class. Defendants’ wrongful conduct included, but was not limited to, their

failure to take the steps and opportunities to prevent the Data Breach as set forth

herein. Defendants’ misconduct also included their decision not to comply with

industry standards for the safekeeping of Plaintiff’s and the Class’s PII, including

basic encryption techniques available to Defendants.




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       164. Plaintiff and the Class had and have no ability to protect their PII that

was in, and remains in, Defendants’ possession.

       165. Defendants were in an exclusive position to effectively protect against

the harm suffered by Plaintiff and the Class as a result of the Data Breach.

       166. Defendants had and continue to have a duty to adequately disclose that

the PII of Plaintiff and the Class within Defendants’ possession was compromised,

how it was compromised, and precisely the types of data that were compromised and

when. Such notice was necessary to allow Plaintiff and the Class to take steps to

prevent, mitigate, and repair any identity theft and the fraudulent use of their PII by

third parties.

       167. Defendants have admitted that the PII of Plaintiff and the Class was

wrongfully accessed and “stolen” by unauthorized third persons as a result of the

Data Breach.

       168. Defendants, through their actions and inaction, unlawfully breached

their duties to Plaintiff and the Class by failing to implement industry protocols and

exercise reasonable care in protecting and safeguarding the PII of Plaintiff and the

Class when the PII was within Defendants’ possession or control.

       169. Defendants improperly and inadequately safeguarded the PII of

Plaintiff and the Class in deviation of standard industry rules, regulations, and

practices at the time of the Data Breach.



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      170. Defendants failed to heed industry warnings and alerts to provide

adequate safeguards to protect their current and former customers’ PII in the face of

increased risk of theft.

      171. Defendants, through their actions and/or omissions, unlawfully

breached their duty to Plaintiff and the Class by failing to have appropriate

procedures in place to detect and prevent dissemination of their current and former

customers’ PII.

      172. Defendants breached their duty to exercise appropriate clearinghouse

practices by failing to remove consumers’ PII they were no longer required to retain

pursuant to regulations.

      173. Defendants, through their actions and/or omissions, unlawfully

breached their duty to adequately and timely disclose to Plaintiff and the Class the

existence and scope of the Data Breach.

      174. But for Defendants’ wrongful and negligent breach of duties owed to

Plaintiff and the Class, the PII of Plaintiff and the Class would not have been

compromised.

      175. There is a close causal connection between (a) Defendants’ failure to

implement security measures to protect the PII of Plaintiff and the Class and (b) the

harm or risk of imminent harm suffered by Plaintiff and the Class. Plaintiff’s and the

Class’s PII was accessed and exfiltrated as the direct and proximate result of



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Defendants’ failure to exercise reasonable care in safeguarding such PII by adopting,

implementing, and maintaining appropriate security measures.

      176. As a direct and proximate result of Defendants’ negligence, Plaintiff

and the Class have suffered and will suffer injury, including but not limited to: (i)

actual identity theft; (ii) the loss of the opportunity to control how their PII is used;

(iii) the compromise, publication, and/or theft of their PII; (iv) out-of-pocket

expenses associated with the prevention, detection, and recovery from identity theft,

tax fraud, and/or unauthorized use of their PII for Plaintiff’s and Class Members’

respective lifetimes; (v) lost opportunity costs associated with effort expended and

the loss of productivity addressing and attempting to mitigate the present and future

consequences of the Data Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and other

identity theft; (vi) costs associated with placing freezes on credit reports; (vii) the

continued risk to their PII, which remains in Defendants’ possession and is subject

to further unauthorized disclosures so long as Defendants fail to undertake

appropriate and adequate measures to protect the current and former customers’ PII

in their continued possession; and (viii) present and future costs in the form of time,

effort, and money that will be expended to prevent, detect, contest, and repair the

impact of the compromise of PII as a result of the Data Breach for the remainder of

the lives of Plaintiff and the Class Members.



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      177. As a direct and proximate result of Defendants’ negligence, Plaintiff

and the Class have suffered and will continue to suffer other forms of injury and/or

harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and

other economic and non-economic losses.

      178. Additionally, as a direct and proximate result of Defendants’

negligence, Plaintiff and the Class have suffered and will suffer the continued risks

of exposure of their PII, which remains in Defendants’ possession and is subject to

further unauthorized disclosures so long as Defendants fail to undertake appropriate

and adequate measures to protect the PII in their continued possession.

      179. As a direct and proximate result of Defendants’ negligence, Plaintiff

and Class Members are now at an increased risk of identity theft or fraud.

      180. As a direct and proximate result of Defendants’ negligence, Plaintiff

and Class Members are entitled to and demand actual, consequential, and nominal

damages and injunctive relief to be determined at trial.

                                     COUNT II

          INVASION OF PRIVACY – INTRUSION UPON SECLUSION

      181. Plaintiff repeats and realleges paragraphs 1-137 as if fully set forth

herein.

      182. Defendants intentionally intruded into Plaintiff and Class Members’

seclusion by failing to keep their PII secure.



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      183. By failing to keep Plaintiff and Class Members’ PII secure, and

allowing for access and disclosing of the PII to unauthorized parties for unauthorized

use, Defendants unlawfully invaded Plaintiff and Class Members’ privacy right to

seclusion by, inter alia:


      (a) intruding into their private affairs in a manner that would be highly
      offensive to a reasonable persons;

      (b) invading their privacy by improperly using their PII properly obtained
      for a specific purpose for another purpose, or disclosing it to unauthorized
      persons;

      (c) failing to adequately secure their PII from disclosure to unauthorized
      persons; and

      (d) enabling the disclosure of their PII without consent.

      184. The PII that was publicized during the Data Breach was highly

sensitive, private, and confidential, as it included private financial and personal

information.

      185. There is no legitimate public interest in the disclosure of Plaintiff’s and

Class Members’ PII.

      186. As a direct and proximate result of Defendants’ intrusion upon

seclusion, Plaintiff and Class Members suffered injury and sustained actual losses

and damages as alleged herein. Plaintiff and Class Members alternatively seek an

award of nominal damages.

                                    COUNT III


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                       BREACH OF IMPLIED CONTRACT

       187. Plaintiff repeats and realleges paragraphs 1-137 as if fully set forth

herein.

       188. Fulton Bank solicited and invited prospective customers to provide

their PII to it and, by extension OSC, as part of its regular business practices. Plaintiff

and the Class Members provided Fulton Bank and OSC with their PII, directly or

indirectly, including their names, birthdates, addresses, loan numbers, Social

Security numbers, and information provided in connection with a loan application,

loan modification, or other items regarding financial services.

       189. OSC acquired and maintained the PII of Plaintiff and the Class that it

received from Fulton Bank. The PII included names, birthdates, addresses, loan

numbers, Social Security numbers, and information provided in connection with a

loan application, loan modification, or other items regarding loan servicing.

       190. When Plaintiff and Class Members provided their PII to Fulton Bank

and OSC, either directly or indirectly, in exchange for goods or services, they entered

into implied contracts with Fulton Bank and its vendors, including OSC, pursuant to

which Fulton Bank and OSC agreed to safeguard and protect such information and

to timely and accurately notify them if their data had been breached and

compromised.




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      191. As a condition of receiving services, Fulton Bank, and by extension

OSC, required Plaintiff and Class Members to provide their PII.

      192. Pursuant to FTC guidelines and standard practice in the financial

industry, Fulton Bank was obligated to take reasonable steps to maintain the security

of Plaintiff’s and Class Members’ PII. As a result, by requesting that Plaintiff and

Class Members provide their PII as part of their doing business with Fulton Bank,

Fulton Bank implicitly promised to adhere to these industry standards. By entering

into a third-party vendor agreement with Fulton Bank, OSC implicitly agreed to

adhere to those same FTC guidelines and standard practices of the financial industry.

      193. Plaintiff and Class Members each accepted Fulton Banks’s offers and

provided their PII to Fulton Bank, and by extension OSC. In entering into such

implied contracts, Plaintiff and the Class reasonably believed that Fulton Bank’s data

security practices and policies, and the practices of its third-party vendors, including

OSC, were reasonable and consistent with industry standards, and that Fulton Bank

and OSC would use part of the fees received from Plaintiff and the Class to pay for

adequate and reasonable data security practices to safeguard the PII.

      194. Plaintiff and Class Members accepted Fulton Bank’s offers and

provided their PII to Fulton Bank, who then entrusted the PII to OSC. Defendants

accepted the PII, and there was a meeting of the minds that Defendant would secure,

protect, and keep the PII confidential.



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      195. Plaintiff fully performed their obligations under the implied contracts

with Defendants.

      196. Plaintiff would not have entered into transactions with Defendants if

Plaintiff had known that Defendants would not protect their PII.

      197. Plaintiff and the Class would not have provided and entrusted their PII

to Fulton Bank, or would have paid less for its services, in the absence of the implied

contract between them and Fulton Bank to keep the information secure.

      198. Plaintiff and the Class fully performed their obligations under the

implied contracts with Defendants.

      199. Defendants breached its implied contracts with Plaintiff and the Class

by failing to safeguard and protect their PII and by failing to provide timely and

accurate notice that their PII was compromised as a result of the Data Breach.

      200. As a direct and proximate result of Defendants breaches of their implied

contracts, Plaintiff and the Class sustained actual losses and damages as described

herein and in an amount to be proven at trial.

                                     COUNT IV

                             UNJUST ENRICHMENT

                             (Alternative to Count III)

      201. Plaintiff repeats and realleges paragraphs 1-137 as if fully set forth

herein.



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      202. When Plaintiff and Class Members paid for services and provided their

PII to Fulton Bank, and by extension OSC, they did so on the mutual understanding

and expectation that Defendants would use a portion of those payments, or revenue

derived from the use of their PII, to adequately fund data security practices.

      203. Upon information and belief, Defendants fund their data security

measures entirely from their general revenues, including payments made by or on

behalf of Plaintiffs and Class Members and revenue derived from the PII provided

by Plaintiff and Class Members.

      204. As such, a portion of the payments made by or on behalf of Plaintiffs

and Class Members, or the revenue derived from their PII, is to be used to provide a

reasonable level of data security, and the amount of the portion of each payment

made that is allocated to data security is known to Defendant.

      205. Defendants enriched themselves by saving the costs they reasonably

should have expended on data security measures to secure Plaintiff’s and Class

Members’ PII and instead directing those funds to their own profits. Instead of

providing a reasonable level of security that would have prevented the hacking

incident, Defendants instead calculated to increase their own profits at the expense

of Plaintiff and Class Members by utilizing cheaper, ineffective security measures.

Plaintiff and Class Members, on the other hand, suffered as a direct and proximate




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result of Defendants’ decision to prioritize their own profits over the requisite

security.

      206. Defendants knew that Plaintiff and Class Members conferred a benefit

which Defendants accepted. Defendants profited from these transactions and used

the PII of Plaintiff and Class Members for business purposes.

      207. For years and continuing to today, Defendants’ business models have

depended upon their use of consumers’ PII. Trust and confidence are critical and

central to the services provided by Defendants in the residential financing industry.

Unbeknownst to Plaintiff and absent Class Members, however, Defendants did not

secure, safeguard, or protect its customers’ and employees’ data and employed

deficient security procedures and protocols to prevent unauthorized access to

customers’ PII. Defendants’ deficiencies described herein were contrary to their

security messaging.

      208. Plaintiff and Class Members received services from Defendants, and

Defendants were provided with, and allowed to collect and store, their PII on the

mistaken belief that Defendants complied with their duties to safeguard and protect

its customers’ and employees’ PII. Upon information and belief, putting their short-

term profit ahead of safeguarding PII, and unbeknownst to Plaintiff and absent Class

Members, Defendants knowingly sacrificed data security to save money.




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      209. Upon information and belief, Defendants knew that the manner in

which they maintained and transmitted customer PII violated industry standards and

their fundamental duties to Plaintiff and absent Class Members by neglecting well-

accepted security measures to ensure confidential information was not accessible to

unauthorized access. Defendants had knowledge of methods for designing

safeguards against unauthorized access and eliminating the threat of exploit, but it

did not use such methods.

      210. Defendants had within their exclusive knowledge, and never disclosed,

that they had failed to safeguard and protect Plaintiff and absent Class Members’

PII. This information was not available to Plaintiff, absent Class Members, or the

public at large.

      211. Defendants also knew that Plaintiff and Class Members expected

security against known risks and that they were required to adhere to state and

federal standards for the protection of confidential personally identifying, financial,

and other personal information.

      212. Plaintiff and absent Class Members did not expect that Defendants

would knowingly insecurely maintain and hold their PII when that data was no

longer needed to facilitate a business transaction or other legitimate business reason.

Likewise, Plaintiff and absent Class Members did not know or expect that




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Defendants would employ substantially deficient data security systems and fail to

undertake any required monitoring or supervision of the entrusted PII.

      213. Had Plaintiff and absent Class Members known about Defendants’

efforts to deficiencies and efforts to hide their ineffective and substandard data

security systems, Plaintiff and absent Class Members would not have entered into

business dealings with Defendants.

      214. By withholding the facts concerning the defective security and

protection of customer PII, Defendants put their own interests ahead of the very

customers who placed their trust and confidence in Defendants, and benefitted

themselves to the detriment of Plaintiff and absent Class Members.

      215. As a result of its conduct as alleged herein, Defendants sold more

services than it otherwise would have, and was able to charge Plaintiff and Class

Members more for mortgage services than it otherwise could have. Defendants were

unjustly enriched by charging for and collecting for those services that it would not

have obtained to the detriment of Plaintiff and absent Class Members.

      216. It would be inequitable, unfair, and unjust for Defendants to retain these

wrongfully obtained fees and benefits. Defendants’ retention of wrongfully obtained

monies would violate fundamental principles of justice, equity, and good

conscience.




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      217. Defendants’ unfair and deceptive conduct to not disclose those defects

have, among other things, caused Plaintiff and Class Members to enter a business

arrangement that was deceptive and dangerous to their identities.

      218. As a result, Plaintiff paid for services that they would not have paid for

had Defendants disclosed the inadequacy of its data security practices.

      219. Plaintiff and each Member of the proposed Class are each entitled to

restitution and non-restitutionary disgorgement in the amount by which Defendants

were unjustly enriched, to be determined at trial.

   VII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment as follows:

   A. For an Order certifying the Class and appointing Plaintiff and her counsel to

      represent the certified Class;

   B. For equitable relief enjoining Defendants from engaging in the wrongful

      conduct complained of herein pertaining to the misuse and/or disclosure of

      Plaintiff’s and the Class Members’ PII, and from refusing to issue prompt,

      complete, and accurate disclosures to Plaintiff and Class Members;

   C. For injunctive relief requested by Plaintiff, including but not limited to,

      injunctive and other equitable relief as is necessary to protect the interests of

      Plaintiff and Class Members, including but not limited to an order:




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  i.   prohibiting Defendants from engaging in the wrongful and unlawful

       acts described herein;

 ii.   requiring Defendants to protect, including through encryption, all data

       collected through the course of its business in accordance with all

       applicable regulations, industry standards, and federal, state or local

       laws;

iii.   requiring Defendants to delete, destroy, and purge the personal

       identifying information of Plaintiff and Class Members unless

       Defendants can provide to the Court reasonable justification for the

       retention and use of such information when weighed against the privacy

       interests of Plaintiff and Class Members;

iv.    requiring Defendants to implement and maintain a comprehensive

       Information Security Program designed to protect the confidentiality

       and integrity of Plaintiff’s and Class Members’ PII;

 v.    prohibiting Defendants from maintaining Plaintiff’s and Class

       Members’ PII on a cloud-based database;

vi.    requiring Defendants to engage independent third-party security

       auditors/penetration testers as well as internal security personnel to

       conduct testing, including simulated attacks, penetration tests, and

       audits on Defendants’ systems on a periodic basis, and ordering



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        Defendants to promptly correct any problems or issues detected by such

        third-party security auditors;

vii.    requiring Defendants to engage independent third-party security

        auditors and internal personnel to run automated security monitoring;

viii.   requiring Defendants to audit, test, and train its security personnel

        regarding any new or modified procedures;

 ix.    requiring Defendants to segment data by, among other things, creating

        firewalls and access controls so that if one area of Defendants’ network

        is compromised, hackers cannot gain access to other portions of

        Defendants’ systems;

  x.    requiring Defendants to conduct regular database scanning and

        securing checks;

 xi.    requiring Defendants to establish an information security training

        program that includes at least annual information security training for

        all employees, with additional training to be provided as appropriate

        based upon the employees’ respective responsibilities with handling

        PII, as well as protecting the PII of Plaintiff and Class Members;

xii.    requiring Defendants to conduct internal training and education

        routinely and continually, and on an annual basis to inform internal




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        security personnel how to identify and contain a breach when it occurs

        and what to do in response to a breach;

xiii.   requiring Defendants to implement a system of tests to assess its

        respective employees’ knowledge of the education programs discussed

        in the preceding subparagraphs, as well as randomly and periodically

        testing employees’ compliance with Defendants’ policies, programs,

        and systems for protecting PII;

xiv.    requiring Defendants to implement, maintain, regularly review, and

        revise as necessary a threat management program designed to

        appropriately monitor Defendants’ information networks for threats,

        both internal and external, and assess whether monitoring tools are

        appropriately configured, tested, and updated;

 xv.    requiring Defendants to meaningfully educate all Class Members about

        the threats that they face as a result of the loss of their confidential

        personal identifying information to third parties, as well as the steps

        affected individuals must take to protect themselves;

xvi.    requiring Defendants to implement logging and monitoring programs

        sufficient to track traffic to and from Defendants servers; and

xvii.   for a period of ten years, appointing a qualified and independent third-

        party assessor to conduct a SOC 2 Type 2 attestation on an annual basis



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          to evaluate Defendants’ compliance with the terms of the Court’s final

          judgment, to provide such report to the Court and to counsel for the

          class, and to report any deficiencies with compliance of the Court’s

          final judgment.


D. For an award of damages, including actual, statutory, nominal, and

   consequential damages, as allowed by law in an amount to be determined

E. For an award of damages, including a sum of money sufficient to provide to

   Plaintiff and Class Members identity theft protection services for their

   respective lifetimes.

F. For an award of punitive damages;

G. For an award of attorneys’ fees, costs, and litigation expenses pursuant to

   O.C.G.A. Section 13-6-11 and as otherwise allowed by law;

H. For prejudgment interest on all amounts awarded; and

I. Such other and further relief as this Court may deem just and proper.


VIII. JURY TRIAL DEMAND

   A jury trial is demanded by Plaintiff and the Class Members as to all issues so

   triable.

   Respectfully submitted this 26th day of September, 2022.


                             /s/ MaryBeth V. Gibson


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                              MaryBeth V. Gibson
                              Georgia Bar No. 725843
                              THE FINLEY FIRM, P.C.
                              3535 Piedmont Rd.
                              Building 14, Suite 230
                              Atlanta, GA 30305
                              Phone: (404) 978-6971
                              Fax: (404) 320-9978
                              mgibson@thefinleyfirm.com

                              Gary M. Klinger*
                              MILBERG COLEMAN BRYSON
                              PHILLIPS GROSSMAN, PLLC
                              227 W. Monroe Street, Suite 2100
                              Chicago, IL 60606
                              Telephone: 866.252.0878
                              gklinger@milberg.com

                              Attorneys for Plaintiff and the Classes

                              *Pro Hac Vice forthcoming

                    CERTIFICATE OF COMPLIANCE

      I certify that the foregoing pleading has been prepared with Times New

Roman, 14-point font, in compliance with L.R. 5.1B.


                                     /s/ MaryBeth V. Gibson

                                     MARYBETH V. GIBSON




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